 

Case 5:12-cv-12456-JCO-MKM ECF No. 1, PagelD.1 Filed 06/06/12 Page 1 of 7

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA § Claim No: 1999A17395
§

8

§
Raechelle L. Stubbs aka Raechelle Louise Slaughter

vs.

 

COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction |

1. This Court has jurisdiction over the subject matter of this action pursuant to Article II],

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Oakland County, Michigan within the jurisdiction of
this Court and may be served with service of process at 23830 Scotia Road, Oak Park, Michigan
48237.

The Debt

3, The debt owed the USA is as follows:

A. Current Principal (after application of all $2,625.00
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $5,649.30

Accrued Interest

C. Administrative Fee, Costs, Penalties $0.00

D. Credits previously applied (Debtor payments, $0.00

credits, and offsets)
 

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E. Attorneys fees $0.00
Total Owed $8,274.30

The Certificate of Indebtedness, attached as Exhibit A", shows the total owed excluding
attorney's fees and CIF charges. The principal balance and the interest balance shown on the Certificate
of Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 10.000% per annum.

Failure to Pay

4. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the date
of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C. §

1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmanlaw.com
 

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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Raechelle L. Stubbs
AKA: Reachelle Stubbs
16176 Stoepel

Detroit, MI 48211-0000

SSN: :

I certify that Department of Education records show that the borrower named above is indebted to the
United States in the amount stated below plus additional interest from 4/5/99.

On or about 2/23/89, the borrower executed promissory note(s) to secure loan(s) of $2,625.00 from
Republic Savings and Loan Association of Wisconsin, Madison WI at 10.00 percent interest per
annum. This loan obligation was guaranteed by Great Lakes Higher Education Corporation and then
reinsured by the Department of Education under loan guaranty programs authorized under Title IV-B
of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 CFR. Part 682). The
holder demanded payments according to the terms of the note(s), and credited $0.00 payments to the
outstanding principle owed on the loan(s). The borrower defaulted on the obligation on 6/18/91 and the
holder filed a claim on the guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $2,912.60 to the holder. The
guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement. The guarantor attempted to collect the debt from the borrower. The guarantor was unable
to collect the full amount due, and on 11/15/96 assigned its right and title to the loan(s) to the
Department.

Since assignment of the loan, the Department has received a total of $0.00 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
borrower now owes the United States the following:

Principal: $2,625.00
Interest: $2,192.51
Administrative/Collection Costs $0.00
Late Fees: $0.00
Total debt as of 4/5/99: $4,817.51

Interest accrues on the principal shown here at the rate of $0.72 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: Uf) If 7 Name: Doane pee

Title: Loan Analyst

 

 

Branch: Litigation

 
 
  
 

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sun 9 9. “% REPUBLIC ~~ VINGS AND LOAN ASSOCIATION OF" *CONSIN 06 1992
GUARANTEED — JDENT LOAN APPLICATION AND PRG, .SSORY NOTE

 

 

SECTION 1-TO BE COMPLETED BY THE BORROWER “IMPORTANT-READ AHE INSTRUCTIONS CAREFULLY”

mr | * Ti b hs _ ; _ He Che / fey i 13. Birthdate a
170 Ot een|awn De 3 =P i), Uipal BD ¥ol-3b He

 

 

6. Left 7. ro are a permanent resident of Ay t state?

Citizenship Status a U.S. Citizen/National_ ee me we al Your 8, State of Driver's Licen

(Check One} Cp. Eiigibienon-citizen (Alien # —_ vy - Vi | ( ] 6 Driver'sLic.#: ee Since:
[See Instructions} [] c.Naither ofthe above State: Since: 7 StateofVeh.Reg.. 7 Since:

 

 

 

 

 

 

 

10, Loan AmountRequested | 41. Majorcourseof,y | 12, List post secondaryin titutions you have attended including dates:

en gO et | s dons | OT | We

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3, Lae ie tt
13, Have you ever defaulted bn a GSL, PLUS/SLS or Consolidation Loan? 14, ben nna a GSL, PLUS/SLS or Conselidation Loan for a period of enrollment
C]yes hatte if*Yes”,see instruction “LJ Yes a _ Loe bmw eg
18. List below all GSL, PLUS/SLS and Consolidation Loans. Do Not Include Perkins (NDSL) o or HEAL Coane. Continue on a Separate sheet if necessary. if none write. “NONE”
.. Name of Lender 7 City ‘and State of Lender _Lpan renee intra Unpaid Balance
Mo. Year
NONE m | ver | els
B, ear
. | % | $
16. Wisconsin Residants Only, If married, spouse's narne and address:
unmarried or 7
Status: [] married Legally separated : aad .
17a, Parentor Guardian (ifdeceased, other relative) 17, Other Relative (notlivingat 17a or17co0r4) T7e, Other Relative or Friend (not living at 17 or 176 or 4)

 

Relationship:

Name: frac, lationship:
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City/State/Zip: Since; 4 Since!, Since:

 

 

 

 

Detroit mM: H§221 ous Tyce, ae a fe Fa pnts Potroit, IM; Kure

Area Coda/ : rel a
Telephone Now ie

 

 

 

 

Pace and iyo Une Ployen DOW? Ht Dytrock UV Nm Ploep

Promissory Note for 3 Guaranteed Student Loan NOTICE TO THE MAKER: DO NOT SIGN
THIS BEFORE YOU R
1, Promiee To Pay |, called Maker Identified in Section [, Item 2 and “Endorser,” If any, identified In Section | EVEN IF OTHERWISE ADVISED. YOU ARE ENTITLED TO AN ane Ze ama ON THe REVERSE Sen

|, tam 18c, promise to pay to the lendor Identified t/Bection 3, Item 35, whan this note beqomes due py set | YOU HAVE THE RIGHT AT ANY TIME TO PAY IN ADVANCE THE UNPAID
bh in paragrabh Alon reverse sidg} the elim of tye AGHEEM MAKER AND ENDORSER ACKNOWLEDGE RECEIPT OF AN EXACT ODPY OF Tit ee AND
DOLLARS | pete STAJEMENT,OF BORROWER'S RIGHTS AND RESPONSIBILITIES

 

 
 
    
 

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18a. Requested Loan Amounfl- Must be the same as Item 10 Uf iy A! Ls (Seal) ae 2 3 “BG
oro ab ab.’ Maker's Signature " Date
( .00) or such lesser amount.gs Ig advanced to ma and Identified to me In the GSL Disclosure
Statement pitts interest computed at the applicable rata disclosed on the GSL Disclosure Statement. If am Whee 1g
not satisfied with the terms of the loan on the GSL. Disclosure Statement, | may cancel this agreament.1 | 48¢, Endorser’s Signature (Seal)
agree to contact my lender Immediately aid { Will not cash any foan check that has bean released to me. | Date
agree to neck the GSL Disclosure Statament az soon as | gat It and to a Jet my lender know If anything, looks
wrong or if | have any questions, My signature cartlfies that I hava fead and agree to the conditions an + ites Sae + a
authorizations stated in the “Borrower Cartification” printed 0 on ther reverse sida, Endorser’s Soc. Sec. No. Endorser’s Address
RIG ; SERTION 2-10 BE COMPLETED BY THE SCHOOL oe
9. Name ofSchool 20350 Sauthticle Hoad 20, Address City, State, Zip Cade 21. Area Code/T lephone No
Southfield, Ml 48076 ; .
; Ais Code | 23, Borrowe( Gilalljdb tak: Bapeddency 25, Loan Period ° 26. Grgde | 27, Anticipated Grad. 28. Est. CostofEduc
Foy He “gil To Mo oy / *
Cine \ Lied YY O&- “¥4 AY T4 $ /0)B«
PS. em 153 30, &. i 3 31. Approved Loan Amou 32 1 Disbursement Date 33, 2nd Disbursement Date ,
205% GE = 2. Ye Mo, Day Year
p $ ] oN

 

 

 

 

 

 

Cain qe yin en a- ap si }
Hamp on FAO glue
Date

 

 

 

 

4. eT Official amg lALO 14
a 3-TO BE COMPLETED BY he LENDER f
5. raneaitoee f 40. ‘Ist Disbursement — "
RepublicSavings and Loan Association ofWisconsin _ . . Amount $ 4 _
B. Street Address City, State, Zip Code 41, 2nd Disbursement 1)
P.O. Box 8951 | Madison, W153708 ; Amount $ / n\ oo Z
y. LenderCode 38, Entity Number 39, Area Code/Te elephoneNo. 42. Total Amount ° S Se
822135 {800-458 S35F ation ere Be [

 

 

 

 

 

 

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cle \, J ihageso West Kohat a n, Vice President | _ ENDER

. Signature ofStudenthean Offical Cin Grove. WISEHataandiee ee =

 
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- “4 poe

| CERTIFY ONDER PENALTY CF PERJURY
THAT THIS IS A TRUE AND EXACT COPY
OF THE ORIGINAL eo NOTE

a
f LO

NAME DATE
 

 

 

2. NS. All words, phrases, and conditions not defined in this Note shall be construed according to common and spp,» usage unless 4 technical meaning is ascribed to the!
Title IV, Part 8 Higher Education Act,pf, 1965 {20 U,S.C.1071 et seq.), as amended. ealled the “Act” or Federal Regulations. ‘The U.S. Secretary of Education shall be calfed the “Secretary”.
‘The Great Lakes Higher Education Corporation shall be called “GLHEG". _ . “ 7 . . : .

3. APPLICABLE INTEHEST RATE. {1} The Maker agress to pay an amount equiyalent to siinple interest {as specified in {4)) on the unpald principie balance from the date of disbursarnent until
the antire principe! sum and accrued interest ara pald th full. (2) However, the Secretary will pay the interest that accrues on this Ipan prior to repayment status and during any deferment. if
it (4 datermined the Maker qualifies, to have such payments nade of the Maker's behalf under the regulations govarning, the Guaranteed Student Loap Progrem (°GSLP"). In tha event
that tha Intorest of this iow ts payable by the Secretary, neither the lender nor the holder of this Note may sttempt to collect \he interest from the Maker. The Maker, however, may choose
to pay the Iriteregt. (3) Once the repayment status begins the Maker will be responsibla for all interest that accrues on this loan, except that if the interest accruing on this Ioan prior to the
repayment period was payable by the Secretary, the Sebretary will pay the interest that accrues during any period described under DEFERMENT (par. 13) In this Promissory Note. (4) The
Interest rate will Be determined_according to the following: (a) H the Maker hes an ou! anding Guaranteed Student Loants} (“GSL”) on the date the Maker signe this Note, the applicable

interest rate will be the same as the applicable Interest rate on the outstanding GSL{s). (b} ¥f the Maker is borrowing for a period of enrollment which begins before July 1,
1988, dnd the Maker has no outstanding GSils}, the epplicable interest rate on this loun will be 8%. (c} If the Maker Is borrowing for a period of enrollment which begins on or after July 1,
7988, ond the Maker has no‘outstanding GSL{g) but the, Naker has an outstanding balance on any PLUS, Supplemental Loans for Students ("SLS”) made for enroliment parlods beginning
before that date of on any Consolidation joan(s) which répald loans made for enrollment perfodts) beginning before that date, the applicable interest rate on this loan will ba &%. (d) ff the
Maker ix borrowing for a period of envolfiént which begins on or after July’ 1, 1988, ahd the Maker has no outstanding balance on sry GSL, PLUS, or SLS made for enrollment period{s)
baginning bofore thet date7oLon any Canspiidation Joan(s) which rapald loans made for enrollment pariod(s) beginning before that date, the applicable interest rate on this loan will be 8%
until the end of the fourth: year of the Muker’s repayiient status arid will be 10% beginning with the fiftti year of the Maker's repayment status, {5} The applicable interest rate (a) yntil the end
of the fourth year of the Maker's repayment satus, and {b) beginning with the fifth year of the Maker's repayment status, will bs identified on the GLHEC GSL Disclosure Statement. (6) The
Maker may also receive rebates of Interest, if fequired by the Higher Education Act of 1965, a8 amended, when the applicable Interest rate Is 10%. (7) The lender or other holdar of this note
may add accrued, unpald Interest to thp unpald principal balance {copitalizatioh) of this oan in accordance with regulations ahd policies of GLHEC. .

4, GUARANTEE INSURANCE FEE. ‘The Makeragreas to pay a loan ‘guarantee iisuranc fae to Lender equal to 1% of the Loan Amount. The amount of this feo will be showit on the GSL
Disclosure Statement and It will be daducted proportionally from each disbursement of this loan. “This fea may be refundable if no srnount of this loan hes been disbursed to tha Raker,

5. LOAN ORIGINATION FEE. The Maker agress to pay to the lender a loan origination fee equal to §% of the Loon Amount. This faa may be Increased to 6.5% by Prasidentis! order Issued
pursuant to the sequestration provislons of the Balanced Budget and Emergency Deficit Control Act of 1885. The amount of this faa will be shown on the GSL Disclosure étatoment and It
wilt be deducted by the lender from each disbursement of the proceeds of the loan in an amount prorated In accordance with the amount of esch disbursemant.

@. PAYMENT OF NOTE: Dating the Interim Perlad cansisting of the tims the Maker continues to carry ‘at an eligible Institution at least ong half the normal full-time academic warkoad as
determined by that Institution plus the Graicé Period, no. paymelt ara due from the Maker, and all interest accruing will be pald to the lender by the Secretary If the Maker qualifies for interest,
subsidy. During the Grace Period, the lender will provide the Maker and the Makar will, sign, a Payment Schedule and Disclosures form which will establish the number and amounts of tha

 

payments necessary fo repay tha principal and interest dug on this note over the periad ("Repayment Period”) commencing at the conclusion of the Grace Period. Tha lender may bdd any
accrued Intsrest for the Secretary Is not Hable and any interast not paid by the Meker when due to tha unpald principal balance of this loan in accordance with GLHEC regulations. From
the date the Repayment Period begins, the Maker and not the Secretary Is jlable for all [terest accruing on this Note except during authorized deferment periods, Except where the minimum

peyment provided Ir par. 7 fe applicable, the Repayment Period lasts at least 5 years but no, mare than 70 years, [axcapt for authorized periods of deferment and forbdardyiza). H the lander
and Maker agres to a Repayment Period of less than 5 yeare, the lender will, at the Maker's réquest, extend it to 5 years unless doing so would reduce the Maker's payments below the
minimum required by par. 7. The Maker agrees {A} to notify,the lender promptly In Writing after ceasing to carry at on eligible Institution at Jeast one half the normal full-time seademlc
workiond, (B} to sign the Payment Schedule and Disclosures form, provided by the lender, not jater than 120 days prior to the expiration of the Grace Perlod, and {C) to” pay the Note In
accordance with tha Payment Schedule and Disclosures form. Recelpt of sighature of the Payment Schedule and Disclosures form by the Maker shall not be a condition prec&dant to lability
for payment of any sums owed by the Maker and any Endofser. tree .
7. MENIMUM PAYMENT. The total annual payment by the Maker during any year of the repayment period on all GSL and PLUS/SLS loans rade under the Act shall not, unless otherwisd
agreed to by lehdar and Naker, be less than $800.orthe balance of all such loang plus acerjed Interest, whichever Js less, except that if a hiisband and wife both have outstanding GSL and
Joana, the total combined annual payment on all such loans by husband dnd wife shall nat be less than’ $600 of the combined balance of all such loans plus accrued Interazt
whichaver Is less. The required anfual payment may ba more than indicated above depending on the total mount borrowed. .
a PREPAYIRENT WITHOUT PENALTY. ‘The Maker and any Endorser may prepay the whole or any part of this fipte ahery tima without penalty, and may be antitied to a rebate.of any unaamec
Interest that was‘pald._ oe meee red mt, he’ ene Fernten ted " 7

 
   
 

   
 
 
         

8, LATE PAYMENT PENALTY, A late payment penalty may be agp pt beatae GES Stiimient natpald on or befare the 10th day after Its scheduled or deferred dua date
The Jate sherge may not excbed 6% of each Installmmant or $6 foL pack ungyal nite & added to the Maker's account and deducted from any future payment
prior to allocation toward payment of any principal nr Interest. 5 1 ey 13 Untied Sretes O .

40, COLLECTION CHARGES. The Maker and any Endorse are i 18 e ah chargag.and collagt , higtigoaflostutorily authorized attorneys fess, that are permitted by Regulations o
the Sectistary and are necessary for the collection of the,loan. Li - FO Student Loan

71. SECURITY INTEREST. This Note Is unsgcured and the on SRST RS fot iris Note, any security interest held by, the lender, .

42. DISBURSEMENT SCHEDULE. The Makar and lender agres amount paid tp tha Maker shall be disbursed by check payable tp the order of and requiring the endorsement of thi

Maker secording to the echadule listed on the GL Disclosure Statement.

43. DEFERMENT. Payrnant of principal will be daferred after the repayment pal td bool, Dovid BS ker complies with the procedural requirements sat forth in the regulations governin
the GSI, Program In stiy’of these circumstances Including deferment renewal fe required: (A) While Maker in ‘unrolled — {a) Full-time study at school that ts participating In th
GSLP funless Maker ts not a citizgior national ‘of the United States and.is studying ofa school not located in the United States}; (b) Full-time study at di institution of highbreducation or
vocational school that Is ppersted by an aqganrey Gf the Federal Governmbnt (e.g. the garvice acs! }. (c) A geaduate fellowabip program approved by the Secretary; or (d} A rehabllitatio
tralning progrant for disabled individuale approved by the Secretary. {B) For perfods ait ged 5 h of the following wille Maker Is — [a] On‘active duty In the Armed Force
of the United States or sarvingyss am officer In tiie Conitnlesfoned Corps of tha bab) Serving as a Peace Corps Voluntaer; (c) Serving as afull-time voluntat
undar Title | of the Domestic Volunteer Sarvica Act of 1973 (ACTION prog? fn aif -time volunteer for an organization exempt from Federal Income taxatlo
undar Sectlon 501{c)13) of the Internal Revenue Code of 1954, whilByuiar' 9) SeLcsieaalsda belt scgeermined is.cqmparable to garvicsin the,Paace Corps or ACTION. program:
of {a} Temporarily totally disabled, as established by affidavit of a qualified physician, oF urnablh re amployment because Maker 33 providing care required by 5 dependent who

temporarily totally disabled, ef established by affidavit of a‘qualified physici %  EbenCeare white Maker Is sarving in &n Internship thet the Secretary hat determine
Is nacessary tor Maker to gain professional recognition required to begin profession prdctice or service. (D) For a period pot.axcaading 2 years while Maker is consclantiously seeking b
unable to find fulj-time employment in the United States; and (E] Up to 6 months if borrower Is pregnant or caring for a newbarn or newly adopted child, and Is nat in attendance at.an allgib
schoo! or gainfully empl , and was enrolled within the past 6 morths at an sligible Institution. for new borrower recelving 2 loan for 4 period of. enrollment beginning an or after July

1987, payment may also daterred for: (A) Enroliment at least half-time (as determined by school), and recelving a GSL for the pariod of snroliment; (B} Up to 3 years while serving ag t
active duty member of the Netionel Oceanic end Atmospheric Adminigtration Corps; {C) Up to 3. years Jor full-time ajementary or secondary school teschers In a teacher, shortage an
prescribed by the Secretary; (D) Up to 2 years for service in an eligible Internship dr residency program leading to a degree or cartificats, awarded by an institution of higher education,
hospital, or a health care facility that offers post-graduate training; and (E} Up to 1 year for mothers_of pre-school, children ‘antering or re-entering the work force who eam less than $1 abot

minimum wage. = oe . Oo nes

To ba granted a deferment, Maker must provida the lender with written evidence of eligibility. Maker must subsequantly notify the lender as soon as the condition for which fhe deferme

was granted no longer existe. . - so . “ot 4 . . op ates oe va os

a . PL cbEe st
14. EVENTS OF DEFAULT. This Note shall, at the pption of the holder, become imrhediately due ‘and payable, upon the occurrence of ary of the following events of defgult: (A) Fallure
Maker to pay in full arly monthly Installment when due provided that this failure pérbists for 180 days or 240 days for less frequent installments; or {B) giving faise or Inaccurate Informath
on an application for a student loan. Upon default al] of the Maker's rights under thls agreement shall be terminated, Including but not Imited tq the deferrments provided for In par. *

Payment srrangements which may be allowed by the Great Lakes Higher Education Corporation after default, shall not reinstate or renew any such terintnated rights of the Maker.
15. CONSEQUENCES OF DEFAULT. Upon an event. of dafauit (par. 14), Maker and Er dorser are Jointly and sayerailly fable for all charges arid coligction costs Uncluding statiitotily authoriz
attorneys fees} permitted by fedétal stafytes or by cules or regulations Igsued by the Secretary or GLHEC forthe collection of any amounts due under this Note. If this loan Is referred
collection to an agency subjact to the Falr Debt Colleclfon Practices Act {15 Ug i [5 ef seg.), Maker and Endotser will Jolntly and severally pay those collection costs which da not exce
26% of the unpald principal and accrued interest. In the event obtains & legal judgment én the defaulted joan, GLHEC reserves.the rat to collect Interest on the Judgment st any Tr
vp fa the maximum rate of interest that applicable Taw may allow with respect to inforest on judgments. The rate of Interest on a judgment may be greater than the rate of Interest specif
in ote, . - oF . .
16. CREDIT BUREAU NOTIFICATION. Information conceming the amount of this lost and Hs repayment will be reported to one or more credit bureau organizations. If Maker defaults on t
lozn, the lender, the holder or quarenty agency will also report the defauit to one or mofe credit burestt orgenafions. This may significantly affect the Maker's ability to obtain other cradht.
197, ADDITIONAL PROVISIONS. (A) The Maker and any Endorser are jointly and severally Hable for all amounts owing under this Note and waive presentment for payment, demand, notlet
nonpayment, notica of protest amd protest pf this Note, and cansant t6 the terms of any payment schedule as well as any and all extensions, cofisolidations and renewals without notice.
The Muker agreos to use the proceads of the loan which this Note evidences solely to pay the expenses of attending the educational insituitfn sted on the loan application and tn which
Maker Ig enrolled or accepted for enrollment at ths date,qf this Note, and for the, loar| pariod indleated on the application. (C) In the event of the Maker's death dr total and pormanent disabil
the unpald Indabtedness hereunder shall-be cancajied pursvant to regulations prompigated under the Act. (D) The Maker shall notify the lender promptly, in writing, of any changes from ul
ta time occuring In bis ar her. schoal enrolment s {such ps withdrawal from sqhool or less than half-time attendance, graduation or transfer to other schools) or home widress from {
stated In the epplication for the loan. {E} ‘The lender must provide Information on te repayment stetus of this.Ippn to, crodit bureau organizations upon the Maker's request. Hf not othery
prohibited by the lew or regulation, the lender and/or GLHEC Wall disclose Informétion about the status of this loan te any credit bureau. (F] Under tho cohditions set forth In Federal .

   
    
     
    
 
 

      

   
  
  

  
 

 
   

 

 

GLHEC regulations governing the GSL program this loan may ba transferred to a holder other than the original lender. Upon balng notifiad of such transfer, the Maker has tha game dr
and responsibilities with regard to the subsequent holder thet the Maker had with regard to the orlginel lender. ‘This Promissory Note Is not Intended fo bs a negotiable Instrument undor
Unlform Commercial Code as adopted by sny stata and a subsequent holder of the Promissory Note cannot ba # holder In dus coursd. (G) Consolidation or refinancing options may
available to the Maker for GSL and other educational |potis. For further Tnforinatio! the Maker should comtact GLHEC. - -

BORROWER TION. I declare under penalty of perjury under. the laws of the United States of Amesjca thet the following Ts true and correct. |, the borrower, certify that the Informa
contained In Sactign 1 of this application Js trus, complete and correct to the best of my knowledga and Bolief and ig made in good faith. | also cartify that I do not now owe & fofund ¢
PELL Grant, Basic Grant, Supplemental Educafonal Opportunity Grant, or State Stlident Incentive Grant that | received to attend any school. | further cartify that | am rot now In defaul
any loans rocsived under the Perkins Laan (formerly National Direct Student Loan), the Fedora! insured Sttident Loan'Program, or the PLUSYSLS or ALAS Programs at any school. | het
authorize the educatiqnsl institution to pay to the lender any refund which mey bed due mea - to the amount of this loan, | further authorize any educational institution that ] may atten
GLHEC, to releasa to tha landing instituiion, subsequent holder, or thelr agents, any ‘requested ‘nfgrmatidh paffinentio this loan (e.g. employment, enrollment status, prior foan history, cut
address). | also authorize the lander, subsequent holder, their agent, educaffinia Ietitution or GLHEC to make Inquiries from Briar dr subsequent lendars or holders with respect to my

application and rejated documents, and to make Inquirigs of my parents arid other Vhird parties tq obtain Information regarding my jocation, eriptoyment and sources of Inegme, | certify
the procesda of pny loan made gs 5 result of this application will be used for educational purposés for the acedomls period covered by this application at the educational Institution na
on thie fort. I understand that 1 am responsible far repaying any funds that Trecelve which cannot renponably be atirIbuted to meeting my education expenses related to attendance at
ee ee gua lann naviod statecL | further certify that | have read and enderstahd the statemertt of rrower responsibilities attached fo the application. . :

 
JC

| CERTIFY UNDER pr “LTY OF PERJURY
TRbW AND EXACT COPY

THAT THIS IS A
OF THE ORIGINAL PROMISSORY NOTE
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